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                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF MASSACHUSETTS
                                CASE NO.:_______________________

STARR INDEMNITY & LIABILITY
COMPANY, a Texas corporation,

                  Plaintiff,
v.

JOHN MORIARTY & ASSOCIATES OF
FLORIDA, INC., a Massachusetts corporation,

            Defendant.
_______________________________________/

                        COMPLAINT FOR DECLARATORY JUDGMENT

         Plaintiff Starr Indemnity & Liability Company (“Starr Indemnity”) brings this action

seeking declaratory relief against Defendant John Moriarty & Associates of Florida, Inc.

(“JMAF”) and alleges as follows:

                               PARTIES, JURISDICTION, AND VENUE

         1.       This is a diversity action for declaratory relief pursuant to 28 U.S.C. § 2201 to

declare the rights and other legal relations of the parties regarding an insurance policy issued by

Starr Indemnity.

         2.       Starr Indemnity is a corporation organized and existing under the laws of the State

of Texas with its principal place of business in the State of New York.

         3.       JMAF is a corporation organized and existing under the laws of the State of

Massachusetts with its principal place of business at 3 Church Street, Winchester, Massachusetts

01890.

         4.       This Court has subject matter jurisdiction over this case pursuant to 28 U.S.C. §

1332(a). There is complete diversity of citizenship between Starr Indemnity and JMAF. The
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amount in controversy exceeds $75,000.00, exclusive of interest and costs. Indeed, the putative

class plaintiffs in the Main Underlying Lawsuit (defined below) allege that they have sustained

“hundreds of millions of dollars in damages.” See Ex. 1 ¶ 6. This amount exceeds the limits of the

Starr Practice Policy (defined below) as well as the underlying policies in the CCIP Tower of

Insurance and the 2020-2021 Practice Tower of Insurance (both defined below).

       5.       This Court has personal jurisdiction over JMAF, and venue is proper in this District

under 28 U.S.C. § 1391.

       6.       This action is brought pursuant to 28 U.S.C. § 2201, which provides that the Court

may declare the rights and other legal relations of the parties. Starr Indemnity and JMAF are both

parties having an interest in the insurance policy referenced herein.

       7.       All conditions precedent to filing this action have been satisfied or waived.

                                         BACKGROUND

                                     The Underlying Claims

       8.       This matter arises out of the June 24, 2021 collapse of the Champlain Towers South

condominium building (“Champlain Towers”) in Surfside, Florida.

       9.       The following lawsuits (collectively, the “Underlying Lawsuits”) related to the

Champlain Towers collapse have been filed in the Circuit Court of the Eleventh Judicial Circuit in

and for Miami-Dade County against JMAF by and/or on behalf of alleged unit owners, residents,

occupants, and/or guests at Champlain Towers at the time of the collapse, as well as a purported

subrogee of some such individuals:

             a. In re: Champlain Towers South Collapse Litigation (Case No. 2021-015089-CA-01)

                (the “Main Underlying Lawsuit”). The operative complaint in the Main Underlying

                Lawsuit is attached as Exhibit 1.




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 b. Valentina Arango Gomez, as Personal Representative of the Estate of Catalina

    Gomez Ramirez v. Champlain Towers South Condominium Association, Inc., et al.

    (Case No. 2021-020530-CA-01). The operative complaint from this lawsuit is

    attached as Exhibit 2.

 c. Vivian Mora Duenas and Cristina Mora Bonfante, as Co-Personal Representatives

    of the Estate of Juan Alberto Mora, Jr. v. Champlain Towers South Condominium

    Association, Inc., et al. (Case No. 2021-020950-CA-01). The operative complaint

    from this lawsuit is attached as Exhibit 3.

 d. Vivian Mora Duenas and Cristina Mora Bonfante, as Co-Personal Representatives

    of the Estate of Juan Alberto Mora, Sr. v. Champlain Towers South Condominium

    Association, Inc., et al. (Case No. 2021-020877-CA-01). The operative complaint

    from this lawsuit is attached as Exhibit 4.

 e. Sergio Barth Tobar and Juliana Gomez, as Co-Personal Representatives of the

    Estate of Valeria Barth Gomez v. Champlain Towers South Condominium

    Association, Inc., et al. (Case No. 2021-022374-CA-01). The operative complaint

    from this lawsuit is attached as Exhibit 5.

 f. Sergio Barth Tobar, as Personal Representatives of the Estate of Luis Fernando

    Barth v. Champlain Towers South Condominium Association, Inc., et al. (Case No.

    2021-027161-CA-01). The operative complaint from this lawsuit is attached as

    Exhibit 6.

 g. Maximiliano Lucero, as Personal Representative of the Estates of Fabian Alberto

    Nunez and Sofia Galfrascoli Nunez v. Champlain Towers South Condominium




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    Association, Inc., et al. (Case No. 2021-026638-CA-01). The operative complaint

    from this lawsuit is attached as Exhibit 7.

 h. Adriana LaFont, as Personal Representative of the Estate of Manuel Victor LaFont,

    Jr. v. Champlain Towers South Condominium Association, Inc., et al. (Case No.

    2021-025137-CA-01). The operative complaint from this lawsuit is attached as

    Exhibit 8.

 i. Abraham Benhayoun, as Personal Representative of the Estate of Cristina Elvira

    Betarte v. Champlain Towers South Condominium Association, Inc., et al. (Case

    No. 2021-017562-CA-01). The operative complaint from this lawsuit is attached as

    Exhibit 9.

 j. Abraham Benhayoun, as Personal Representative of the Estate of Leon Oliwkowicz

    Paitnika v. Champlain Towers South Condominium Association, Inc., et al. (Case

    No. 2021-017558-CA-01). The operative complaint from this lawsuit is attached as

    Exhibit 10.

 k. Enrique Arango, as Personal Representative of the Estate of S.C. v. Champlain

    Towers South Condominium Association, Inc., et al. (Case No. 2021-018527-CA-

    01). The operative complaint from this lawsuit is attached as Exhibit 11.

 l. Josefina Henriquez, as Personal Representative of the Estate of Ana Isabel Ortiz v.

    Champlain Towers South Condominium Association, Inc., et al. (Case No. 2021-

    019164-CA-01). The operative complaint from this lawsuit is attached as Exhibit 12.

 m. Erika Giganti, as Personal Representative for the Estate of Francis Rosa Fernandez

    v. Champlain Towers South Condominium Association, Inc., et al. (Case No. 2021-

    016855-CA-01). The operative complaint from this lawsuit is attached as Exhibit 13.




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             n. Sergio Lozano, as the Personal Representative for the Estates of Antonio and Gladys

                Lozano v. Champlain Towers South Condominium Association, Inc., et al. (Case

                No. 2021-016856-CA-01). The operative complaint from this lawsuit is attached as

                Exhibit 14.

             o. Juana Villalba Rojas, as Personal Representative of the Estate of Leidy Vanessa

                Luna Villalba v. Champlain Towers South Condominium Association, Inc., et al.

                (Case No. 2021-17238-CA-01). The operative complaint from this lawsuit is attached

                as Exhibit 15.

             p. Universal Property & Casualty Insurance Company a/s/o Max Friedman and Ellen

                Friedman, et al. v. Champlain Towers South Condominium Association, Inc., et al.

                (Case No. 2022-001944-CA-01). The operative complaint from this lawsuit is

                attached as Exhibit 16.

             q. Konstantinos Giannitsopoulos and Fatima Baghat Giannitsopoulos, as Co-Personal

                Representatives of the Estate of Andreas Konstantinos Giannitsoploulos v.

                Champlain Towers South Condominium Association, Inc., et al. (Case No. 2022-

                003172-CA-01). The operative complaint from this lawsuit is attached as Exhibit 17.

       10.      The Main Underlying Lawsuit is a putative class action. The plaintiffs in the Main

Underlying Lawsuit filed suit both on behalf of themselves and on behalf of putative class and

subclass members who were unit owners, residents, occupants, and/or guests at Champlain Towers

at the time of the collapse.

       11.      The plaintiffs in the Underlying Lawsuits allege that JMAF was the general

contractor for the construction of a condominium building next to Champlain Towers South known

as “Eighty-Seven Park.” The plaintiffs in the Underlying Lawsuits generally allege that the




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construction of Eighty-Seven Park compromised the structure of Champlain Towers South and

contributed to its collapse.

        12.     The plaintiffs in the Underlying Lawsuits have asserted claims for negligence and/or

strict liability against JMAF based on JMAF’s alleged involvement in the construction of Eighty-

Seven Park.

        13.     The plaintiffs in the Underlying Lawsuits seek to hold JMAF liable for bodily injuries

and/or property damage allegedly sustained as a result of the Champlain Towers collapse.

        14.     In the Main Underlying Lawsuit, co-defendant Champlain Towers South

Condominium Association, Inc. (the “Champlain Association”) has filed a cross-claim against

JMAF and other defendants, a copy of which is attached as Exhibit 18. The allegations in the

cross-claim are similar to the allegations in the Main Underlying Lawsuit. In the cross-claim, the

Champlain Association asserts claims of negligence and strict liability against JMAF, and seeks

to hold JMAF liable for bodily injuries and/or property damage allegedly sustained as a result of the

Champlain Towers collapse.

        15.     In addition to the Underlying Lawsuits, St. Johns Insurance Company, Inc. (“St.

Johns”) sent a letter dated December 7, 2021, to JMAF indicating that St. Johns has paid property

damage losses allegedly sustained by certain of its purported insureds in connection with the

Champlain Towers South collapse (the “St. Johns Subrogation Demand”). A copy of the St. Johns

Subrogation Demand is attached as Exhibit 19. The St. Johns Subrogation Demand and the

Underlying Lawsuits are collectively referred to herein as the “Underlying Claims.”

        16.     In the St. Johns Subrogation Demand, St. Johns alleged that JMAF provided “general

contracting services for the construction project at ‘Eighty-Seven Park,’ which may be contributed

to the collapse.” St. Johns further asserted that it is a subrogee of the aforementioned individuals and




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demanded that JMAF pay St. Johns the amount it allegedly paid to the individuals for their alleged

property damage losses.

                                 The CCIP Tower of Insurance

       17.      JMAF was issued a tower of liability insurance policies in a Contractor Controlled

Insurance Program (“CCIP”) for the Eighty-Seven Park project (the “CCIP Tower of Insurance”).

The CCIP Tower of Insurance is comprised of the following insurance policies:

             a. A primary insurance policy (policy no. CR006N817) issued by Aspen Specialty

                Insurance Company (attached as Exhibit 20).

             b. A first-level excess insurance policy (policy no. CX006MW17) issued by Aspen

                Specialty Insurance Company (attached as Exhibit 21).

             c. A second-level excess insurance policy (policy no. NY17FXS905191IC) issued by

                Navigators Specialty Insurance Company (attached as Exhibit 22).

             d. A third-level excess insurance policy (policy no. CEX09602849-00) issued by

                Gemini Insurance Company (attached as Exhibit 23).

             e. A fourth-level excess insurance policy (policy no. 1000015609) issued by Starr

                Surplus Lines Insurance Company (the “Starr CCIP Policy”) (attached as Exhibit

                24).

             f. A fifth-level excess insurance policy (policy no. EXC2063550) issued by Great

                American Insurance Company (attached as Exhibit 25).

             g. A sixth-level excess insurance policy (policy no. EXC30000449300) issued by

                Endurance Assurance Corporation (attached as Exhibit 26).




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                            The 2020-2021 Practice Tower of Insurance

        18.      Additionally, John Moriarty & Associates, Inc. (“JMA”) was issued a tower of

liability insurance policies for the Policy Period from October 31, 2020 to October 31, 2021 (the

“2020-2021 Practice Tower of Insurance”).

        19.      For purposes of the Underlying Claims, any coverage provided by the 2020-2021

Practice Tower of Insurance applies in excess of the CCIP Tower of Insurance. See Arch Practice

Policy, Wrap-Up Exclusion With Limited Exception for Excess Coverage Endorsement (00 GL0540

00 02 11).

        20.      The 2020-2021 Practice Tower of Insurance includes the following insurance

policies:

              a. A primary insurance policy (policy no. 11PKG8931805) issued by Arch Insurance

                 Company (the “Arch Practice Policy”) (attached as Exhibit 27).

              b. A first-level excess insurance policy (policy no. US00068515LI20A) issued by XL

                 Specialty Insurance Company (attached as Exhibit 28).

              c. A second-level excess insurance policy (policy no. AEC 9826955-09) issued by

                 American Guarantee and Liability Insurance Company (attached as Exhibit 29).

              d. A third-level excess insurance policy (policy no. 1000586652201) issued by Starr

                 Indemnity (the “Starr Practice Policy”) (attached as Exhibit 30).

                                       The Starr Practice Policy

        21.      The Starr Practice Policy was delivered to the broker of JMA and JMAF in New

York.

        22.      Section I. Coverage in the Excess Liability Policy Form (form number XS 100

(10/08)) in the Starr Practice Policy states, in part:




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       A. We will pay on behalf of the Insured, the “Ultimate Net Loss” in excess of the
       “Underlying Insurance” as shown in ITEM 5. of the Declarations, that the Insured
       becomes legally obligated to pay for loss or damage to which this insurance applies
       and that takes place in the Coverage Territory. Except for the terms, definitions,
       conditions and exclusions of this Policy, the coverage provided by this Policy shall
       follow the terms, definitions, conditions and exclusions of the applicable First
       Underlying Insurance Policy(ies) shown in ITEM 5.A. of the Declarations.

       B. Regardless of any other warranties, terms, conditions, exclusions or limitations
       of this Policy, if any applicable Underlying Insurance Policy(ies) does not cover
       “Ultimate Net Loss” for reasons other than exhaustion of its limit of liability by
       payment of claims or suits, then this Policy will not cover such “Ultimate Net
       Loss”.

       C. The amount we will pay for the “Ultimate Net Loss” is limited as described in
       SECTION II. LIMITS OF INSURANCE.

       23.      Section III in the Excess Liability Policy Form (form number XS 100 (10/08)) in the

Starr Practice Policy includes the following definitions:

       A. “Ultimate Net Loss”

             “Ultimate Net Loss” means the total sum, after reduction for all recoveries
             including other valid and collectible insurance, excepting only the “Underlying
             Insurance” scheduled under ITEM 5. of the Declarations, actually paid or
             payable due to a claim or suit for which you or an Insured are liable either by a
             settlement to which we agreed or a final judgment.

             The term “Ultimate Net Loss” shall also include defense costs when such
             defense costs are included within the limits of insurance of any applicable
             “Underlying Insurance”.

       B. “Underlying Insurance”

             “Underlying Insurance” means the Policy(ies) and/or self-insured retention
             identified in ITEM 5. of the Declarations. “Underlying Insurance” shall include:

             1. The First Underlying Insurance Policy(ies) scheduled in ITEM 5.A. of the
             Declarations;

             2. Any Additional Underlying Insurance Policy(ies) scheduled in ITEM 5.B.
             of the Declarations; and

             3. Any renewal or replacement of such Policy(ies).




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       24.     The Arch, XL, and American Guarantee Practice Policies are the applicable First

Underlying Insurance Policy(ies). See Starr Practice Policy, Excess Liability Policy Schedule of

Underlying Insurance (XS 102 (10/08)). Accordingly, except as noted otherwise in the Starr Practice

Policy (including in the portion of Section I. Coverage quoted above), the Starr Practice Policy

follows the terms, definitions, conditions and exclusions of these policies.

       25.     Page 3 of the Excess Liability Policy Form (XS 100 (10/08)) in the Starr Practice

Policy defines Insured as follows:

       The word Insured means the Named Insured and any person or organization
       qualifying as an Insured in the First Underlying Insurance Policy(ies), but only to
       the extent to which such person(s) or organization(s) qualify as an Insured in the
       First Underlying Insurance Policy(ies) at the inception date of this Policy. Newly
       acquired or formed organizations must comply with SECTION IV.
       CONDITIONS, D. Changes in order to qualify for coverage.

       26.     The Broad Form Named Insured – Designated Endorsement (00 GL0472 00 06 14),

as modified by Endorsement No. 003, in the Arch Practice Policy adds JMAF as a Named Insured

under the Arch Practice Policy.

       27.     Therefore, JMAF is an Insured under the Starr Practice Policy.

       28.     Section IV.M, When “Ultimate Net Loss” is Payable, in the Excess Liability Policy

Form (XS 100 (10/08)) in the Starr Practice Policy states:

       Coverage under this Policy will not apply unless and until the Insured or the
       Insured’s “Underlying Insurance” has paid or is obligated to pay the full amount of
       the limits of the “Underlying Insurance” scheduled in ITEM 5. of the Declarations.
       If other insurance applies, coverage under this Policy will not apply until the other
       insurance has paid or is obligated to pay the full amount of its limit of insurance.

       When the “Ultimate Net Loss” is determined, we will pay on behalf of the Insured
       the amount of “Ultimate Net Loss” to which this insurance applies.

       29.     The Wrap-Up Exclusion With Limited Exception for Excess Coverage Endorsement

(00 GL0540 00 02 11) in the Arch Practice Policy states:




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This insurance does not apply to “bodily injury”, “property damage” or “personal
and advertising injury” arising out of either your ongoing operations or operations
included in the “products-completed operations hazard” at or from any project for
which a “wrap-up insurance program” in which you have been enrolled, except as
follows:

This insurance will be excess for the conduct of your business in a construction
project which is the subject of a “wrap-up insurance program” in which you are or
were a participant.

However, this coverage is contingent upon all of the following conditions:

       1. The limits of the “wrap up insurance program” at its inception are at least:

               a. $50,000,000 Each Occurrence;

               b. $50,000,000 General Aggregate; and

               c. $50,000,000 Product-Completed Operations Aggregate; and

               The above Limits of Insurance are minimal limits. If the actual
               Limits of Insurance are greater, this policy is excess over the greater
               limits; and

       2. The Limits of Insurance of the “wrap-up insurance program” have not
       been reduced or exhausted by any cause other than the payment of covered
       damages only.

Failure of any of the conditions listed in 1. or 2. above will not invalidate this
insurance. However in the event of any such failure, or if the insurance for the
“wrap-up insurance program” is not valid or collectible for any reason, this
insurance shall only apply as if the Limits of Insurance of the “wrap up insurance
program” were in full effect. You are responsible for the payment of such amounts
equal to the Limits of Insurance, and the satisfaction of any deductible or retention
for the “wrap-up insurance program” before this insurance becomes applicable.

Limits of Insurance provided by this policy are excess of the total limits of the
“wrap-up insurance program” but no less than the Limits of Liability shown in Item
(1) above, or the remaining available limits of insurance, if any, for the “wrap-up
insurance program” if they have been reduced or exhausted by the payment of
covered damages. However, under no circumstances will our Limits of Insurance
exceed those listed in the Declarations of this policy.

The coverage provided by this insurance is solely for the benefit of you alone and
will not inure to the benefit of any other party.

When this coverage applies as excess, we will have the right, but not the duty, to
defend the insured against any “suit”.


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       “Wrap-up insurance program” means an insurance program, whether primary or
       excess, that:

               1. requires some or all of the contractors working on the project to
               participate;

               2. is purchased by you or is purchased for you by the owner of the project
               or by another contractor; and

               3. is limited to a specific construction project, joint venture, or all work for
               another contractor under a controlled insurance program.

       30.     The preamble of the Commercial General Liability Coverage Form (CG 00 01 04 13)

in the Arch Practice Policy states, “Throughout this policy the words ‘you’ and ‘your’ refer to the

Named Insured shown in the Declarations, and any other person or organization qualifying as a

Named Insured under this policy.” As noted, JMAF is a Named Insured under the Arch Practice

Policy and, therefore, “you” as used in the Arch Practice Policy includes JMAF.

       31.     JMAF is enrolled in the CCIP Tower of Insurance, which is a “wrap-up insurance

program” for the Eighty-Seven Park construction project. The “bodily injury” and “property

damage” alleged in the Underlying Claims is alleged to arise out of operations included in the

“products-completed operations hazard” at the Eighty-Seven Park project. See Arch Practice Policy,

Commercial General Liability Coverage Form (CG 00 01 04 13) at 15 (defining “products-

completed operations hazard”).

       32.     Therefore, any coverage available to JMAF for the Underlying Claims under the Starr

Practice Policy is in excess of the limits of the CCIP Tower of Insurance as well as the “Underlying

Insurance” in the 2020-2021 Practice Tower, and the Starr Practice Policy is only implicated if all

of the aforementioned policies are properly and completely exhausted.

       33.     The Anti-Stacking Endorsement (XS 107 (04/11)) in the Starr Practice Policy (the

“Anti-Stacking Endorsement”) states:




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       If this insurance and any other insurance issued to the Insured by the Company or
       any of its affiliated companies shall apply to the same Claim or Suit, the maximum
       limit of insurance under all insurance available shall not exceed the highest
       applicable limit of insurance available under any one policy. This condition does
       not apply to any other insurance issued by the Company or any of its affiliated
       companies specifically to apply as excess insurance of over this policy.

       34.     Page 1 of the Excess Liability Policy Form (XS 100 (10/08)) in the Starr Practice

Policy defines “the Company” as Starr Indemnity.

       35.     Starr Surplus is an affiliated company of Starr Indemnity.

       36.     In the Anti-Stacking Endorsement, “this insurance” refers to the Starr Practice Policy.

       37.     The Starr CCIP Policy was issued to JMAF (which is an Insured under the Starr

Practice Policy) by Starr Surplus (which is an affiliated company of Starr Indemnity). Therefore, the

Starr CCIP Policy is “any other insurance issued to the Insured by the Company or any of its affiliated

companies,” triggering the Anti-Stacking Endorsement if both the Starr CCIP Policy and Starr

Practice Policy are implicated with respect to the Underlying Claims.

       38.     Pursuant to the Anti-Stacking Endorsement, if the Starr CCIP Policy and the Starr

Practice Policy are both implicated with respect to the Underlying Claims, the maximum limit of

insurance available will be, at most, the “highest applicable limit of insurance available under any

one policy.”

       39.     Because the Starr CCIP Policy and the Starr Practice Policy each have limits of

$25,000,000 Each Occurrence, $25,000,000 Other Aggregate(s), Where Applicable, and

$25,000,000 Products-Completed Operations Aggregate, if the Starr CCIP Policy limit is exhausted,

no additional coverage is available under the Starr Practice Policy.

       40.     Therefore, the Starr Practice Policy does not provide coverage for the Underlying

Claims.

                            Starr Indemnity’s Reservation of Rights



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       38.     JMAF has requested that Starr Surplus provide coverage for the Underlying Claims

under the Starr CCIP Policy, and that Starr Indemnity also provide coverage for the Underlying

Claims under the Starr Practice Policy.

       39.     In response to JMAF’s request for coverage under the Starr Practice Policy, Starr

Indemnity sent JMAF a reservation of rights letter dated April 6, 2022, a copy of which is attached

as Exhibit 31. In the letter, Starr Indemnity explained that, pursuant to the Anti-Stacking

Endorsement in the Starr Practice Policy, to the extent the Starr Practice Policy is ever implicated

with respect to the Underlying Claims, the maximum limit of insurance available will be, at most,

the limits of the Starr CCIP Policy. No additional coverage is available under the Starr Practice

Policy. Starr Indemnity reserved its rights to deny coverage for the Underlying Claims for this

reason and to limit or deny coverage for additional reasons discussed in the letter.

       40.     There is an actual controversy between Starr Indemnity and JMAF regarding the

application of the Starr Practice Policy, and specifically the Anti-Stacking Endorsement, to the

claims asserted in the Underlying Claims.

                                         COUNT I
                 Declaration of No Coverage Under the Starr Practice Policy

       41.     Starr Indemnity hereby incorporates by reference and re-alleges, as if fully stated

herein, each and every allegation of paragraphs 1 through 40 of this Complaint.

       42.     For the Starr Practice Policy to apply to the Underlying Claims, the Starr CCIP Policy

will also need to apply to the Underlying Claims and first be exhausted by those Claims.

       43.     However, pursuant to the Anti-Stacking Endorsement in the Starr Practice Policy, to

the extent the Starr CCIP Policy and the Starr Practice Policy are implicated with respect to the

Underlying Claims, the maximum limit of insurance available will be, at most, the limits of the Starr

CCIP Policy. No additional coverage will be available under the Starr Practice Policy.



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        44.     Accordingly, pursuant to the Anti-Stacking Endorsement in the Starr Practice Policy,

there is no coverage for the Underlying Claims under the Starr Practice Policy.

        45.     Additionally, there may be limited or no coverage for the Underlying Claims under

the Starr Practice Policy based on additional, independent reasons, including those discussed in the

reservation of rights letter attached as Exhibit 31.

        46.     Starr Indemnity is entitled to a declaratory judgment in its favor, stating that Starr

Indemnity has no liability to JMAF under the Starr Practice Policy for any “Ultimate Net Loss”

(as that term is defined in the Starr Practice Policy) or other amounts arising out of or related to

any of the Underlying Claims.

        WHEREFORE, Starr Indemnity respectfully requests that the Court declare the rights of

the parties under the Starr Practice Policy and declare that Starr Indemnity has no liability to JMAF

under the Starr Practice Policy for any “Ultimate Net Loss” (as that term is defined in the Starr

Practice Policy) or other amounts arising out of or related to any of the Underlying Claims. Starr

Indemnity further respectfully requests that the Court grant such other and further relief as the

Court may deem just and proper.

Dated: April 6, 2022




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                                   Respectfully submitted,


                                   STARR INDEMNITY & LIABILITY
                                   COMPANY

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